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14

15   UNITED STATES OF AMERICA,              )   CASE NO. 3:22-CR-426-JSC
                                            )
16          Plaintiff,                      )   UNITED STATES’ SURREPLY OPPOSING
                                            )   DEFENDANT’S MOTION TO CHANGE VENUE
17     v.                                   )
                                            )   Trial Date:     November 6, 2023
18   DAVID WAYNE DEPAPE,                    )   Hearing Date:   July 19, 2023
                                            )   Hearing Time:   10:00 a.m.
19          Defendant.                      )
                                            )   Judge: Hon. Jacqueline Scott Corley
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     USA’s SURREPLY OPPOSING MOTION TO CHANGE VENUE
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 1                                                INTRODUCTION

 2          The government responds to two new arguments and evidence raised in the defendant’s Reply In

 3 Support of Motion to Change Venue. Dkt. 48 (Def. Reply).

 4
            A.      Congresswoman Nancy Pelosi’s Representation of a Subset of the Likely Potential
 5                  Venire Is Not De Facto Prejudicial and Can Be Addressed Through Voir Dire.

 6          The defendant posits that “a substantial portion of the jury pool will themselves be personally

 7 represented by Nancy Pelosi in Congress” and this “creates yet another unique reason to presume

 8 prejudice here,” especially because Congresswoman Pelosi is “a long-serving Congressperson routinely

 9 reelected by wide margins.” Def. Reply at 10:18-11:2. The defendant is simply incorrect that any

10 members of the venire who are represented by Congresswoman Pelosi cannot be trusted to set aside their

11 personal views of her. 1 This is exactly the type of inquiry that is appropriate during voir dire, and there

12 is no reason to generally disbelieve a venire member’s response that they can be fair and impartial

13 simply due to the fact that they are represented in Congress by one of the victims. The defendant’s

14 reliance on the dissent in United States v. Poludniak, 657 F.2d 948 (8th Cir. 1981), is of little persuasion,

15 as the government cited this case in its Opposition for the majority’s holding that no change in venue

16 was necessary where all potential jurors were represented by one of the victims, a sitting U.S. Senator,

17 who was also a witness at trial. Id. at 954-55. As the Eighth Circuit explained in Poludniak, any

18 potential prejudice was remedied during extensive voir dire:
19          Each potential juror was questioned individually about his political affiliations and
            attitude toward Senator Eagleton as a witness. Each was asked if he had ever worked for
20          or against the Senator in a campaign and whether he had ever requested or received
            assistance from the Senator’s office. Jurors were then asked whether they would be
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22             The defendant’s argument that Congresswoman Nancy Pelosi represents “a substantial portion
     of the jury pool” is overstated. Congresswoman Pelosi currently represents the 11th Congressional
23   District of California. See Representative Nancy Pelosi, Congress.Gov, https://www.congress.gov/
     member/district/nancy-pelosi/P000197 (last visited July 16, 2023). This congressional district includes
24   most, but not all, of San Francisco County by land mass and has a total population, as of 2021, of
     702,058 people. See United States Census, 118th Congress of the United States, California-
25   Congressional District 11 Map, https://www2.census.gov/geo/maps/cong_dist/cd118/cd_based/ST06/
     CD118_CA11.pdf (last visited July 16, 2023). U.S. Census data also for 2021 show that the seven
26   counties that make up the San Francisco-Oakland jury pool had a combined population of 5,237,131.
     See U.S. Census, Annual Estimates of the Resident Population for Counties: April 1, 2020 to July 1,
27   2022, https://www.census.gov/data/tables/time-series/demo/popest/2020s-counties-total.html (last
     visited July 16, 2023). Therefore, assuming that the San Francisco-Oakland jury pool tracks the
28   population of those counties, Congresswoman Pelosi represents approximately 13% of the potential
     venire.
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 1          inclined to believe him any more or less than any other witness and whether they had any
            strong feelings for or against him. Satisfactory answers were given to these questions.
 2

 3 Id. at 955. 2

 4          The defendant intimates that the reelection of Congresswoman Pelosi by “wide margins” is

 5 relevant to this inquiry, but this argument smacks of reliance on community voting patterns that other

 6 courts have routinely rejected. In United States v. Haldeman, 559 F.2d 31 (D.C. Cir. 1976), the

 7 defendants were former Nixon administration officials charged with crimes related to the Watergate

 8 scandal who moved to change venue prior to trial. Id. at 52, 59. The district court denied the motion

 9 and the Court of Appeals, sitting en banc, affirmed. The dissent noted potential political bias, stating

10 that 81.8% and 78.1% of the District of Columbia voted for President Nixon’s Democratic opponents in

11 the 1968 and 1972 elections, respectively. Id. at 160 (MacKinnon, J., concurring in part and dissenting

12 in part). In response, the Court of Appeals firmly rejected the “intimation that a community’s voting

13 patterns are at all pertinent to venue.” Id. at 64 n.43. District Courts in the District of Columbia have

14 rejected similar arguments to transfer venue in the criminal cases arising out of the breach of the U.S.

15 Capitol on January 6, 2021. See, e.g., United States v. Nordean, No. 1:21-cr-175-TJK, Dkt. No. 531,

16 slip op. at 1, 5 (D.D.C. Nov. 9, 2022), attached as Ex. A (rejecting alleged “Proud Boys” defendants’

17 argument to transfer venue due, in part, to the lack of political diversity in D.C. and noting every other

18 court in the District of Columbia had also denied motions to transfer venue in criminal cases arising out
19 of events of January 6, 2021).

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23          2
                The defendant’s reliance on United States v. Moody, 762 F. Supp. 1485 (N.D. Ga. 1991), is
24   misplaced. The district court did not transfer venue because of the prominence of the victim, but instead
     because “much prejudicial information ha[d] reached the public through news accounts detailing
25   defendant’s past criminal record; defendant’s conviction in the obstruction of justice trial in December,
     1990; defendant’s reliance on the insanity defense in that trial; the government’s evidence against
26   defendant; and statements of federal investigating officers concerning defendant’s guilt.” Id. at 1490.
     Furthermore, in considering where to transfer the case, the court looked to larger communities because
27   “[s]everal courts have suggested that a venue change is usually more effective if it is to a more, rather
     than less, metropolitan community because a big case in a small town quickly becomes a cause celebre
28   and the focus for substantially more publicity than existed at the time the decision to transfer was
     made. . . .” Id. (internal quotations and citations omitted).
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 1          B.      Voir Dire Is Entirely Capable of Mitigating Any Potential Prejudice from the
                    Limited, Fleeting Coverage of the Defendant’s Immigration Status and Allegations
 2                  of Sexual Abuse.

 3          The defendant argues that additional media coverage of the defendant’s immigration status and

 4 allegations that the defendant sexually abused his stepchildren support his argument that “media

 5 coverage of this case has been extensive, prejudicial, and often inflammatory.” Def. Reply at 3:11-13,

 6 3:13-5:8. But the defendant’s own filing shows that these media reports were very limited, occurred in

 7 the first two weeks after the conduct at issue here, and were reported nationally, indicating nothing about

 8 a particular prejudice in the San Francisco-Oakland jury pool.

 9          The seven stories cited by the defendant that covered his immigration status were all published

10 on November 3, 2022, less than a week after the October 28, 2022 conduct charged here. See Def.

11 Reply at 3:18-4:16; see also Declaration of Angela Chuang (Chuang Decl.) Exs. A-F. To the extent that

12 reporting on the defendant’s immigration status is even prejudicial, this is not the type of extensive

13 coverage that presumes the entire jury pool will be prejudiced. See United States’ Opposition to

14 Defendant’s Motion to Change Venue (Gov. Opp.) at 16:2-17:3 (demonstrating that the release of much

15 more inflammatory information about defendants was found not to create a presumption of prejudice).

16 Additionally, the passage of time between this reporting and the November 6, 2023 trial date can and

17 will mitigate any potential prejudice. See Gov. Opp. at 15:14-16:1. Finally, one of the articles relied

18 upon by the defendant is from The Washington Post, a national newspaper, see Chuang Decl. Ex. F, and
19 a quick search reveals that the coverage of the defendant’s immigration status was national news. See,

20 e.g., Rebecca Shabad and Julia Ainsley, Suspect in Paul Pelosi attack was in U.S. illegally, immigration

21 officials say, NBC News (Nov. 3, 2022), https://www.nbcnews.com/politics/immigration/suspect-paul-

22 pelosi-attack-was-us-illegally-immigration-officials-say-rcna55441; Anders Hagstrom, Pelosi attack

23 suspect David DePape, an illegal immigrant, may face deportation after criminal trial, Fox News (Nov.

24 3, 2022), https://www.foxnews.com/politics/pelosi-attack-suspect-david-depape-illegal-immigrant-may-

25 face-deportation-criminal-trial; Priscilla Alvarez, Immigration officials say Pelosi attacker was in US

26 illegally, CNN (Nov. 3, 2022), https://www.cnn.com/2022/11/03/politics/david-depape-paul-pelosi-

27 attack/index.html, Eileen Sullivan, Suspect in Pelosi Attack Was in the U.S. Illegally, Officials Say, N.Y.

28 Times (Nov. 3, 2022), https://www.nytimes.com/2022/11/03/us/politics/pelosi-attack-depape-illegal-

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 1 immigration.html. To the extent that defendant’s immigration status is even prejudicial, there is nothing

 2 indicating that the San Francisco-Oakland jury pool is so uniquely prejudiced by this information that

 3 changing trial to a different venue would mitigate it. 3 Instead, as the D.C. Circuit stated in Haldeman,

 4 “a change of venue would [be] of only doubtful value.” 559 F.3d at 64 n.43; see also United States v.

 5 Bochene, 579 F. Supp. 3d 177, 182 (D.D.C. 2022) (“The fact that there has been ongoing media

 6 coverage of the breach of the Capitol and subsequent prosecutions, both locally and nationally, means

 7 that the influence of that coverage would be present wherever the trial is held.” (internal quotations and

 8 citations omitted)).

 9          The defendant claims that Bay Area media also reported that the defendant sexually abused his

10 stepchildren, but then cites only a New York Post article published on October 30, 2022, and an SFist

11 post published November 15, 2022 that simply regurgitates, with attribution, other news coverage and

12 includes one paragraph about the New York Post article. Chuang Decl. Exs. G, H. Coverage of these

13 allegations appears to have been incredibly limited and also in the weeks after the incident.

14          Nothing in these newly cited articles demonstrates that the San Francisco-Oakland jury pool is so

15 tainted that the voir dire process cannot ferret out any potential prejudice that they may have caused.

16 DATED: July 17, 2023                                           Respectfully submitted,

17                                                                ISMAIL J. RAMSEY
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18
                                                                     /s/
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22              The defendant claims that the government “intentionally released” prejudicial information
     about his immigration status and that this is a factor the Court can consider in favor of changing venue.
23   Def. Reply at 4:6-20. The defendant’s articles show merely that the Department of Homeland Security
     issued a one-line statement to the media that “U.S. Immigration and Customs Enforcement (ICE) lodged
24   an immigration detainer on Canadian national David Depape with San Francisco County Jail, Nov. 1,
     following his Oct. 28 arrest.” See Chuang Decl. Exs. E, F. This is basic information about the
25   defendant that could have legitimately been disclosed at a detention hearing. To the extent that the
     Court considers whether any parties have generated media coverage, the defendant’s and his state
26   counsel’s statements to the media have been more extensive. See, e.g., Gov. Opp. at 3:5-11; 15 n.6. The
     defendant relies upon United States v. Diehl-Armstrong, 739 F. Supp. 2d 786 (W.D. Pa. 2010), but there
27   the district court denied a motion to change venue under Rule 18 due in part to the “significant extent of
     the publicity in this matter . . . generated by the Defendant herself.” Id. at 797-98. Indeed, the coverage
28   that the defendant claims is most prejudicial—regarding his personal beliefs and allegations of sexual
     abuse—come from non-governmental sources.
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